 8:06-cr-00182-LSC-FG3              Doc # 38   Filed: 08/07/06    Page 1 of 1 - Page ID # 56




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )                 8:06CR182
       vs.                                        )
                                                  )                  ORDER
LEOPOLDO MEJIA and                                )              CONTINUING TRIAL
OLIVIA LORENZO,                                   )
                                                  )
                       Defendants.                )


       This matter is before the court on the motion [34] and supplemental motion [37] to
continue trial filed by defendant, Leopoldo Mejia. The movant has complied with
NECRimR 12.1. For good cause shown, trial will be continued to September 26, 2006.

       IT IS ORDERED that the motions to continue trial [34] and [37] are granted, as
follows:

       1. Trial of this matter is continued from August 15, 2006 to September 26, 2006
before Judge Laurie Smith Camp and a jury.

       2. The ends of justice will be served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. Any additional time arising as
a result of the granting of this motion, that is, the time between August 15, 2006 and
September 26, 2006, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act due to moving counsel's scheduling conflicts, the
need for additional time to effectively prepare the case, and considering the diligence of
counsel. Failure to grant a continuance would result in a miscarriage of justice . 18 U.S.C.
§ 3161(h)(8)(A) & (B).

     3. Counsel for the United States shall confer with defense counsel and, no later than
September 20, 2006, advise the court of the anticipated length of trial.

       4.    This order applies to all defendants.

       DATED August 7, 2006.

                                               BY THE COURT:

                                               s/ F.A. Gossett
                                               United States Magistrate Judge
